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                        IN THE UNITED STATES DISTRICT COURT

                         DISTRICT OF UTAH
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       UNITED STATES OF AMERICA,                          2:21-cr-000520-JNP
                                                   :
                              Plaintiff,
                                                   :      RESPONSE TO MOTION TO
               vs.                                        CONTINUE SENTENCING
                                                   :
       ALLISON BAVER,
                                                   :
                              Defendant.                  Honorable Judge Jill Parrish


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       Pursuant to the Motion to Continue Sentencing filed on August 2, 2024, in the above

named case, the United States of America hereby states that it has no objection to the motion

requesting a continuance.


       RESPECTFULLY SUBMITTED on this 2nd day of August 2024.



                                             /s/ Trina A. Higgins
                                             TRINA A. HIGGINS
                                             United States Attorney
